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U.S. Department of Justice

United States Attorney
District of New Jersey

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March 12, 2025
Via ECF

Hon. Brian R. Martinotti

United States District Judge

Frank R. Lautenberg Post Office
& U.S. Courthouse

2 Federal Square

Newark, NJ 07102

Re: United States v. Syed, et al.
Crim. No. 22-818

Dear Judge Martinotti:

The Government respectfully submits this letter requesting a 30-day
extension of time to respond to the Court’s February 27, 2025 Order directing the
Government, within two weeks of the Order, to (i) identify the audio, video, and
tape recordings it seeks to use at trial, and (ii) identify the co-conspirator hearsay
statements and/or portions thereof it seeks to use at trial. Dkt. No. 211.4

The Government believes that a 30-day extension is appropriate given (i) the
volume of material to be reviewed to make the identifications required by the Order,
(ii) the fact that, although the trial has not yet been scheduled, the Government’s
identifications in response to the Order likely will bear on the admissibility of that
evidence at any forthcoming trial, and (ii) the status of plea negotiations, which
may in the interim render aspects of the Order moot.

Counsel for each of Abid Syed, Tariq Din, and Muhammad Aurangzeb
consents to this request.

1The Order also directed the Government to submit an ex parte letter to the Court
providing detailed explanations for issuing post-Indictment grand jury subpoenas,
which it already has done.
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Thank you for your consideration.

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BRIAN R. MARTINOTTI, USDJ
DATED: MARCH 12, 2025

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Respectfully submitted,

JOHN GIORDANO
United States Attorney

/s/ Jessica R. Ecker
Jessica R. Ecker

Assistant U.S. Attorney

